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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

J. LEE,

                Plaintiff,
                                                                                No. 1:17-cv-01230-JB-LF
v.

THE BOARD OF REGENTS OF THE
UNIVERSITY OF NEW MEXICO, and
GARNETT S. STOKES, in her official capacity
as the President of the University of New Mexico,

                Defendants.

                             JOINT MOTION TO STAY PROCEEDINGS

          COME NOW, Plaintiff J. Lee and Defendants Board of Regents of the University of New

Mexico (“UNM”) and Garnett S. Stokes, 1 by and through their respective counsel of record, and

jointly move the Court to enter a stipulated order staying the proceedings in this case until

November 30, 2018, or until the parties jointly request that the stay be lifted. As grounds

therefor, the parties state:

          1.    The parties are involved in good-faith settlement negotiations which may resolve

this matter without the need for any further involvement or action by the Court; and

          2.    The parties mutually agree that a stay of proceedings until November 30, 2018,

would be in the best interests of the parties and may result in the conservation of judicial

resources.




1
  Pursuant to Federal Rule of Civil Procedure 25(d), the current President of UNM, Garnett S. Stokes, has been
automatically substituted for the former President of UNM, Robert G. Frank. (See Order [Doc. 36], at 2 n.2).
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        WHEREFORE, the parties respectfully request that the Court enter an order staying the

proceedings and taking no further action in this matter until November 30, 2018, or until the

parties jointly request that the stay be lifted.

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                                                          /s/ Arlyn G. Crow
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                                                   and

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                                                          /s/ Quentin Smith
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                                                          Leah M. Stevens-Block




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